                          IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF PUERTO RICO
                                                                                                        1 MINUTE




      MINUTE OF PROCEEDINGS                                                      DATE: July 2, 2025
U.S. MAGISTRATE JUDGE MARCOS E. LOPEZ                                            AUSA Laura Diaz
COURT REPORTER: ZOOM                                                             COURTROOM NO: OSJ 6

  UNITED STATES OF AMERICA
                                                                                     Return of
  Plaintiff                                                                   Indictment by the Grand Jury
                                                                        Criminal No. 25-CR-00303 (CVR)
  v

  Kevin A. Thobias (1)
  Defendant(s)




      Indictment was filed in open court.

Arraignment to be set upon arrest.

Case is assigned to Judge Camille Velez-Rive.


NEW CASE:
     This Indictment supersedes Criminal Case No. --------.

        Defendant(s) appeared in -----. Magistrate case merged and closed.

        Defendant(s) charged in magistrate case -----. but not arrested. Magistrate case merged and closed.

        Defendant(s) not charged in magistrate case.

        The Court granted the government’s motion to seal.

        Defendant(s) to remain on same bond.

        Defendant(s) under custody:         . Marshal to produce defendant(s).

        Arrest warrants to be issued.

        Summons to be issued.



                                                                           S/Cristina Dones
                                                                         Courtroom Deputy Clerk
